Case 2:22-cv-02897-MCS-RAO Document 1 Filed 05/01/22 Page 1 of 10 Page ID #:1




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       Attorney(s) for Display Technologies, LLC
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   7
                       IN THE UNITED STATES DISTRICT COURT
   8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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        DISPLAY TECHNOLOGIES, LLC,
                                                       CASE NO. 2:22-cv-02897
  11                       Plaintiff,
                                                       PATENT CASE
  12    v.
                                                       JURY TRIAL DEMANDED
  13
        EPSILON ELECTRONICS, INC.,
  14    d/b/a POWER ACOUSTIK,

  15                       Defendant.                  COMPLAINT

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  18         Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this
  19   Complaint against Epsilon Electronics, Inc. d/b/a Power Acoustik (“Defendant” or
  20   “Power Acoustik”) for infringement of United States Patent No. 9,300,723 (the “ ‘723
  21   Patent”).
  22                            PARTIES AND JURISDICTION
  23         1.     This is an action for patent infringement under Title 35 of the United
  24   States Code. Plaintiff is seeking injunctive relief as well as damages.
  25         2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
  26   (Federal Question) and 1338(a) (Patents) because this is a civil action for patent
  27   infringement arising under the United States patent statutes.
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                                                 1
                            COMPLAINT AGAINST EPSLILON ELECTRONICS, INC.
Case 2:22-cv-02897-MCS-RAO Document 1 Filed 05/01/22 Page 2 of 10 Page ID #:2




   1          3.     Plaintiff is a Texas limited liability company with an address of 1 East
   2   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
   3          4.     On information and belief, Defendant is a California corporation with a
   4   principal place of business at 1550 S Maple Ave, Montebello, California, 90640. On
   5   information and belief, Defendant may be served through its agent, Jack Rochel, at
   6   the same address.
   7          5.     This Court has personal jurisdiction over Defendant because Defendant
   8   has committed, and continues to commit, acts of infringement in this District, has
   9   conducted business in this District, and/or has engaged in continuous and systematic
  10   activities in this District.
  11          6.     Upon information and belief, Defendant’s instrumentalities that are
  12   alleged herein to infringe were and continue to be used, imported, offered for sale,
  13   and/or sold in this District.
  14                                           VENUE
  15          7.     On information and belief, venue is proper in this District under 28
  16   U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively, acts
  17   of infringement are occurring in this District and Defendant has a regular and
  18   established place of business in this District.
  19                                          COUNT I
  20         (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
  21          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
  22          9.     This cause of action arises under the patent laws of the United States
  23   and, in particular, under 35 U.S.C. §§ 271, et seq.
  24          10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole rights
  25   to enforce the ‘723 Patent and sue infringers.
  26          11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless
  27   communications,” is attached hereto as Exhibit A.
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                                                   2
                              COMPLAINT AGAINST EPSLILON ELECTRONICS, INC.
Case 2:22-cv-02897-MCS-RAO Document 1 Filed 05/01/22 Page 3 of 10 Page ID #:3




   1         12.    The ‘723 Patent is valid, enforceable, and was duly issued in full
   2   compliance with Title 35 of the United States Code.
   3         13.    Defendant has infringed and continues to infringe one or more claims,
   4   including at least Claim 12 of the ‘723 Patent by making, using, and/or selling media
   5   systems covered by one or more claims of the ‘723 Patent. For example, Defendant
   6   makes, uses, and/or sells the Power Acoustik car stereo, associated software,
   7   hardware and/or apps, and any similar products (“Product”). Defendant has infringed
   8   and continues to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.
   9         14.    Regarding Claim 12, the Product is a media system through which a user
  10   can view a media file (e.g., camera photos) from a camera, through a media terminal
  11   (e.g., smartphone) from a media node (e.g., Bluetooth server) over a communication
  12   network (e.g. Bluetooth network) through a communication link (wireless
  13   communication). Certain aspects of this element are illustrated in the screenshots
  14   below and/or those provided in connection with other allegations herein.
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                            COMPLAINT AGAINST EPSLILON ELECTRONICS, INC.
Case 2:22-cv-02897-MCS-RAO Document 1 Filed 05/01/22 Page 4 of 10 Page ID #:4




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             15.   The Product includes at least one media terminal disposed in an
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       accessible relation to at least one interactive computer network. For example, the
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       Bluetooth network is used to play music and video from mobile. Certain aspects of
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       this element are illustrated in the screenshots below and/or in those provided in
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       connection with other allegations herein.
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                                                 4
                            COMPLAINT AGAINST EPSLILON ELECTRONICS, INC.
Case 2:22-cv-02897-MCS-RAO Document 1 Filed 05/01/22 Page 5 of 10 Page ID #:5




   1         16.   A wireless range is structured to permit authorized access to the at least
   2   one interactive computer network. For example, the smartphone is connected through
   3   a Bluetooth when the mobile is paired with Bluetooth using Bluetooth code that
   4   permits the connection of the mobile by the wireless network (interactive computer
   5   network).
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             17.   At least one media node is disposable within the wireless range, wherein
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       the at least one media node is detectable by the at least one media terminal. For
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       example, the media node (connecting Car stereo) sends Bluetooth signals, which are
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       detected by the mobile (at least one media terminal) when the mobile is paired with
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       Bluetooth. Certain aspects of this element are illustrated in the screenshots below
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       and/or those provided in connection with other allegations herein.
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                            COMPLAINT AGAINST EPSLILON ELECTRONICS, INC.
Case 2:22-cv-02897-MCS-RAO Document 1 Filed 05/01/22 Page 6 of 10 Page ID #:6




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  11         18.   At least one digital media file is initially disposed on at least one of the
  12   at least one media terminal or the at least one media node and the at least one media
  13   terminal is structured to detect the at least one media node disposed within the
  14   wireless range. For example, the mobile (media terminal) is connected with the car
  15   stereo through a Bluetooth when the mobile comes within range (wireless) of the
  16   Bluetooth signals.
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                                                 6
                            COMPLAINT AGAINST EPSLILON ELECTRONICS, INC.
Case 2:22-cv-02897-MCS-RAO Document 1 Filed 05/01/22 Page 7 of 10 Page ID #:7




   1         19.   A communication link is structured to dispose the at least one media
   2   terminal and the at least one media node in a communicative relation with one another
   3   via the at least one interactive computer network. For example, the mobile (media
   4   terminal) connects when the Car Stereo (i.e. media node) comes to the Bluetooth
   5   range detected by mobile (at least one media terminal) through a Bluetooth network
   6   (interactive computer network).
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             20.   The communication link is initiated by the at least one media terminal.
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       For example, the communication link, i.e. Bluetooth network, which is the link
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       between mobile and the Car Stereo (i.e. media node) whenever the Car Stereo (i.e.
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       media node) comes to Bluetooth range of mobile (at least one media terminal).
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                           COMPLAINT AGAINST EPSLILON ELECTRONICS, INC.
Case 2:22-cv-02897-MCS-RAO Document 1 Filed 05/01/22 Page 8 of 10 Page ID #:8




   1         21.   The at least one media node and the at least one media terminal are
   2   structured to transmit the at least one digital media file there between via the
   3   communication link. For example, the mobile is connected with the Car Stereo
   4   through a Bluetooth network (media node) when the mobile (media terminal) is
   5   within the Bluetooth range.
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             22.   The communication link is structured to bypass at least one media
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       terminal security measure for a limited permissible use of the communication link by
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                           COMPLAINT AGAINST EPSLILON ELECTRONICS, INC.
Case 2:22-cv-02897-MCS-RAO Document 1 Filed 05/01/22 Page 9 of 10 Page ID #:9




   1   the media node to only transferring the at least one digital media file to, and displaying
   2   the at least one digital media file on, the at least one media terminal. For example,
   3   Car infotainment system is linked through a Bluetooth (i.e. media terminal security)
   4   when the mobile is within range (wireless) of the Bluetooth signals.
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  13         23.    Defendant’s actions complained of herein will continue unless
  14         Defendant is enjoined by this court.
  15         24.    Defendant’s actions complained of herein are causing irreparable harm
  16   and monetary damage to Plaintiff and will continue to do so unless and until
  17   Defendant is enjoined and restrained by this Court.
  18         25.    Plaintiff is in compliance with 35 U.S.C. § 287.
  19                                      JURY DEMAND
  20         23.    Under Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff
  21   respectfully requests a trial by jury on all issues so triable.
  22                                  PRAYER FOR RELIEF
  23         WHEREFORE, Plaintiff asks the Court to:
  24         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
  25   asserted herein;
  26         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
  27   employees, attorneys, and all persons in active concert or participation with Defendant
  28   who receive notice of the order from further infringement of United States Patent No.
                                                  9
                             COMPLAINT AGAINST EPSLILON ELECTRONICS, INC.
Case 2:22-cv-02897-MCS-RAO Document 1 Filed 05/01/22 Page 10 of 10 Page ID #:10




    1   9,300,723 (or, in the alternative, awarding Plaintiff running royalties from the time of
    2   judgment going forward);
    3         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
    4   accordance with 35 U.S.C. § 284;
    5         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
    6         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
    7   entitled under law or equity.
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    9   Dated: May 1, 2022                     Respectfully submitted,
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                                               /s/Stephen M. Lobbin
   11                                          Stephen M. Lobbin
   12                                          Attorney(s) for Plaintiff
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                             COMPLAINT AGAINST EPSLILON ELECTRONICS, INC.
